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               United States Court of Appeals
                                For the First Circuit
                               ____________________________

 No. 13-1026

        JIN-MING LIN, on behalf of himself and on behalf of others similarly situated;
       CHI-WAI CHAO, on behalf of himself and on behalf of others similarly situated;
       YOOK THAI CHEAH; MING F. FUNG; MUOI GIANG; YUEM YUE SOOHOO

                                       Plaintiffs - Appellees

                                        MEI ZHI Plaintiff

                                                 v.

                       CHINATOWN RESTAURANT CORPORATION;
                               JOYCE P.Y. HAYES

                                      Defendants - Appellants

                                WILLIAM M. WAINWRIGHT

                                             Defendant

                               ____________________________

                                           JUDGMENT

                                   Entered: March 18, 2013
                                 Pursuant to 1st Cir. R. 27.0(d)

        Upon consideration of stipulation, it is hereby ordered that this appeal be voluntarily
 dismissed pursuant to Fed. R. App. P. 42(b) with each party to bear its own costs.

        Mandate to issue forthwith.

                                                      By the Court:

                                                      /s/ Margaret Carter, Clerk
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 cc:
 Myong J. Joun
 David Berman
 Lawrence Mathew Siskind
